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                         IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

HEATHER PICQUELLE,

        Plaintiff,                                           Case No.: 1:23-cv-15057

v.                                                           Judge Sara L. Ellis

THE PARTNERSHIPS AND UNINCORPORATED                          Magistrate Judge Gabriel A. Fuentes
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

        Defendants.

                          [CORRECTED] NOTICE OF DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                NO.                                   DEFENDANT
                 29                                     WAYEHA
                 48                                     SAXIGOL
                 81                                    JCCDMZSL
                 87                                     MSTICKER
                 88                      HOXZODT (Warehouse Clearance USA)
                 97                          (7-15 days delivery)-TMICOS-US
                117                                     XKLVMH
                119                                Qing Tian BikiniStore
                139                         9-14 days delivery-Junkang co., ltd.
                 91                                       Davis 3
                 14                                       lseneing
                 43                                      TOWEGO
                 90                                        yoeyez
                200                               amaz0n shopping online
                142                                      ESCBUKI
                 37                                        SoleSa
                  4                                    NAMTYQX
                  6                                       AAZJSS
                  7                                      ZIXZMD
                  9                                       Amober
                 11                                      OSMUAL
                 24                     ChicCrate❀❀❀Womens Fall Fashion 2023
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          25                                 JXKIKOZE
          26                                 QIOQWMI
          28                               HUANKD Shop
          31               QITOHK womens fall fashion 2023 clearance deal
          32                                  EKIYVO1
          35                                HUEAHDOU
          36                                XAWMWAT
          44                          UJAKEL已备案,跟卖秒投
          47                Valentine's Day Big Promotion-BAODANHAO
          49                              Prime Day Deals*
          51                                  EKVAHL
          54                                    RMXEi
          56                                  TAI SHOP
          59                                    Blue-cat
          61                                    Axtheny
          65                         ACCIDENTALLY FOUND
          66                             GIANTHONG Direct
          70                                  LEE SEN
          79                                 RTGHYJIO
          80                        (7-15 days delivery)-dadayouz
          83                        BDNXTV(8-15 days delivery)
          84                                  Dfecoxing
          86                     KUIOLYPOER(7-15 days delivery)
          93                 UOFOCO 7-14 DAYS FAST SHIPPING ✈
          96                    Black Friday Big Promotion-GUJING
         101                                     Friyur
         102                                 BDPORKAS
         104                                    Azeralia
         106                                 YYQXIiyty
         107                       Timbrigte ( 7-14 Days Delivery )
         111                                   NHUIFL
         114                                    Yantihe
         120                        TCKEt Delivered in 8-15 days
         121                             CCLLEG-USA Direct
         123                                  FOVIGUO
         127                                   JINYIJIN
         128                                  BAKREP
         132                                   chongjili
         136                                   ANKJIX
         140                                 ODEUIAOD
         141                                 LCUFREOZ
         145                       ZEFOTIM✈10-15Days Delivery
         154                                  Messigaot
         156                    Summer Fall Clothes for Women 2023
         165                                 HXHYQKP
         173                                   YAXIEP
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            176                                 YAUENI
            179                                Umitay-us
            180                       Prime Day Sale 50% in Kenvina
            181                                   Qilnbo
            185                                  XAZEIC
            191                                 JXQCWY
            192                                 FRVBTC
            194                              XDTDRYRYU
            204                                  Aawghy
            196                                wzcmdzsw


DATED: November 30, 2023                    Respectfully submitted,

                                            /s/ Keith A. Vogt
                                            Keith A. Vogt (Bar No. 6207971)
                                            Keith Vogt, Ltd.
                                            33 W. Jackson Blvd., #2W
                                            Chicago, Illinois 60604
                                            Telephone:312-971-6752
                                            E-mail: keith@vogtip.com

                                            ATTORNEY FOR PLAINTIFF
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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on November 30, 2023 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt
